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                     UNITED STATES COURT OF APPEALS                         FILED
                            FOR THE NINTH CIRCUIT                           MAR 28 2022
                                                                       MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
  U.S. EQUAL EMPLOYMENT                          No.   22-55060
  OPPORTUNITY COMMISSION,
                                                 D.C. No.
                 Plaintiff-Appellee,             2:21-cv-07682-DSF-JEM
                                                 Central District of California,
   v.                                            Los Angeles

  ACTIVISION BLIZZARD, INC.; et al.,             ORDER

                 Defendants-Appellees,

   v.

  CALIFORNIA DEPARTMENT OF FAIR
  EMPLOYMENT AND HOUSING,
  Proposed Intervenor,

                 Movant-Appellant.

  Before: FRIEDLAND and BADE, Circuit Judges.

        The emergency stay motion (Docket Entry No. 10) is denied. See Nken v.

  Holder, 556 U.S. 418, 426 (2009).

        The previously established briefing schedule remains in effect.




  LAB/MOATT
